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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF GEORGIA
                                       COLUMBUS DIVISION

     CURTIS JOHNSON,


              Plaintiff,
     v.
                                                                    Case No.: 4-14-CV-204
     MCCORLEW REALTY INC. a
     Georgia Profit Corporation, and
     THOMAS J. MCCORLEW, JR,
     individually,

           Defendants.
     _______                                             /

                  JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

           Plaintiff, CURTIS JOHNSON 1 and Defendants, MCCORLEW REALTY INC. and

THOMAS J. MCCORLEW, JR. pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), by and through

their undersigned counsel, hereby stipulate that the claims brought by Plaintiff in the above

and foregoing cause shall be dismissed with prejudice and move this Court for entry of an

order dismissing this action with prejudice. Plaintiff represents and acknowledges payment

in full for all of his claims, including claims for overtime, liquidated damages, and attorney’s

fees and costs. Defendants shall bear their own fees and costs.




                                                [see following page]



1
    At the time of this filing, no other individuals have joined the present case.
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         As such, the resolution of this matter does not constitute a “compromise” which

would involve Court review and/or approval pursuant to Lynn’s Food Stores, Inc. v. United

States, 679 F.2d 1350 (11th Cir. 1982).2

         Dated this 17th day of September, 2014.



    /s/ ANDREW FRISCH________                             /s/ RICHARD E. FLOWERS
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    Attorneys for Plaintiff                               Counsel for Defendants




2
  See Bonetti v. Embarq Management Company, Case No. 6:07-cv-1335-GAP-GJK (August 4, 2009) (holding
that no Court Approval needed if there is no compromise of Plaintiff’s FLSA claim).




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